     Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 1 of 68




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

ANDREW H. WARREN,

             Plaintiff,
                                             Case No. 4:22-cv-302-RH-MAF
v.

RON DESANTIS, individually and in his
official capacity as Governor of the State
of Florida,

          Defendant.
_________________________________/

                          THE GOVERNOR’S TRIAL BRIEF
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 2 of 68




                                           TABLE OF CONTENTS

Introduction ................................................................................................................1
Facts and Procedural History .....................................................................................3
Legal Argument .........................................................................................................9
         I.        Mr. Warren will fail to show that his suspension was substantially
                   motivated by the expressive content of his speech. ............................10
         II.       Mr. Warren’s claim will fail because he cannot show that the
                   Governor lacked probable cause to suspend him. ...............................16
                   A.        Mr. Warren must make a threshold showing that the Governor
                             lacked probable cause to suspend him for neglect of duty and
                             incompetence. ...........................................................................17
                   B.        Mr. Warren will fail to show that the Governor lacked probable
                             cause to suspend Mr. Warren. ...................................................30
         III.      Mr. Warren cannot establish that the relevant speech was protected
                   under the First Amendment. ................................................................35
                   A.        Mr. Warren’s statements were unprotected government speech.
                             ...................................................................................................36
                   B.        Mr. Warren’s speech was unprotected because it fails the
                             Pickering balancing test. ...........................................................50
                   C.        Mr. Warren’s statements were not protected because the
                             suspension standard in the Florida Constitution represents a
                             conduct regulation that only incidentally burdened Mr.
                             Warren’s speech. .......................................................................52
         IV.       The Governor will establish that retaliatory animus was not the but-for
                   cause of Mr. Warren’s suspension because the Governor would have
                   suspended Mr. Warren even absent any retaliatory motive. ...............55
Conclusion ...............................................................................................................56




                                                               ii
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 3 of 68




                                    TABLE OF AUTHORITIES


Cases

Alves v. Bd. of Regents of Univ. Sys.,
  804 F.3d 1149 (11th Cir. 2015) ...........................................................................37
Ayala v. Scott,
  224 So. 3d 755 (Fla. 2017)........................................................................... passim
Bd. of Cnty. Comm’rs v. Umbehr,
  518 U.S. 668 (1996) .............................................................................................55

Belcher v. City of McAlester,
  324 F.3d 1203 (10th Cir. 2003) .................................................................... 51, 52
Berry v. Bailey,
  726 F.2d 670 (11th Cir. 1984) .............................................................................52
Boquist v. Courtney,
  32 F.4th 764 (9th Cir. 2022) ................................................................................55
Bostock v. Clayton Cnty.,
  140 S. Ct. 1731 (2020) .........................................................................................55

Burton v. City of Belle Glade,
  178 F.3d 1175 (11th Cir. 1999) ...........................................................................14
Cambridge Christian Sch., Inc. v. Fla. High Sch. Athletic Ass’n,
  942 F.3d 1215 (11th Cir. 2019) ................................................................... passim
Castle v. Appalachian Tech. Coll.,
  631 F.3d 1194 (11th Cir. 2011) ...........................................................................10

Choose Life Ill., Inc. v. White,
  547 F.3d 853 (7th Cir. 2008) ...............................................................................38
Connick v. Myers,
  461 U.S. 138 (1983) .............................................................................................52

Crawford-El v. Britton,
  523 U.S. 574 (1998) ...................................................................................... 20, 55

                                                         iii
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 4 of 68




Culter v. Stephen F. Austin State Univ.,
  767 F.3d 462 (5th Cir. 2014) ...............................................................................37

Davison v. Randall,
  912 F.3d 666 (4th Cir. 2019) .................................................................. 38, 47, 49

Del Castillo v. Sec’y, Fla. Dep’t of Health,
  26 F.4th 1214 (11th Cir. 2022) ............................................................................53

DeMartini v. Town of Gulf Stream,
  942 F.3d 1277 (11th Cir. 2019) ................................................................... passim
Fikes v. City of Daphne,
  79 F.3d 1079 (11th Cir. 1996) .............................................................................12

Florida v. United States,
  886 F. Supp. 2d 1301 (N.D. Fla. 2012) ........................................................ 21, 27
Garcetti v. Ceballos,
  547 U.S. 410 (2006) .........................................................................................2, 35
Giboney v. Empire Storage & Ice Co.,
  336 U.S. 490 (1949) ............................................................................ 1, 16, 53, 54
Gogel v. Kia Motors Mfg. of Ga., Inc.,
  967 F.3d 1121 (11th Cir. 2020) ...........................................................................15
Goldstein v. Galvin,
  719 F.3d 16 (1st Cir. 2013) ..................................................................................38
Gregoire v. Biddle,
  177 F.2d 579 (2d Cir. 1949).................................................................................21

Gundy v. City of Jacksonville,
  50 F.4th 60 (11th Cir. 2022) ........................................................................ passim

Harlow v. Fitzgerald,
  457 U.S. 800 (1982) ...................................................................................... 21, 27

Hartman v. Moore,
  547 U.S. 250 (2006) ..................................................................................... passim



                                                        iv
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 5 of 68




Heffernan v. City of Paterson,
  578 U.S. 266 (2016) .............................................................................................10

Holder v. Humanitarian L. Project,
  561 U.S. 1 (2010) .................................................................................................53

In re U.S.,
   985 F.2d 510 (11th Cir. 1993) .............................................................................27

Ingram v. Johnson,
  187 F.3d 877 (8th Cir. 1999) ...............................................................................54
Israel v. DeSantis,
   269 So. 3d 491 (Fla. 2019).................................................................. 2, 10, 24, 31

Keeton v. Anderson-Wiley,
  664 F.3d 865 (11th Cir. 2011) ...................................................................... 15, 16
Kennedy v. Bremerton Sch. Dist.,
  142 S. Ct. 2407 (2022) .........................................................................................36
Knight First Amend. Inst. at Columbia Univ. v. Trump,
  928 F.3d 226 (2d Cir. 2019).................................................................................38
Knight v. Baptist Hosp. of Mia., Inc.,
  330 F.3d 1313 (11th Cir. 2003) ...........................................................................15
Lane v. Franks,
  573 U.S. 228 (2014) .............................................................................................37
Latif v. Obama,
  666 F.3d 746 (D.C. Cir. 2011) .............................................................................19

Leake v. Drinkard,
  14 F.4th 1242 (11th Cir. 2021) ..................................................................... 39, 44

Lewis v. City of Union City,
  918 F.3d 1213 (11th Cir. 2019) ...........................................................................15

Marshall v. City of Cape Coral,
 797 F.2d 1555 (11th Cir. 1986) .......................................................................3, 55



                                                          v
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 6 of 68




Matal v. Tam,
 137 S. Ct. 1744 (2017) .........................................................................................38

McBeth v. Himes,
 598 F.3d 708 (10th Cir. 2010) .............................................................................24

McCabe v. Sharrett,
 12 F.3d 1558 (11th Cir. 1994) .............................................................................51

Mech v. Sch. Bd. of Palm Beach Cnty.,
 806 F.3d 1070 (11th Cir. 2015) .................................................................... 36, 46
Moss v. City of Pembroke Pines,
 782 F.3d 613 (11th Cir. 2015) ...............................................................................9

Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle,
  429 U.S. 274 (1977) .........................................................................................3, 55
Newton v. LePage,
  700 F.3d 595 (1st Cir. 2012) ................................................................................39
Nieves v. Bartlett,
  139 S. Ct. 1715 (2019) ................................................................................. passim
Nix v. WLCY Radio/Rahall Commc’ns,
  738 F.2d 1181 (11th Cir. 1984) ...........................................................................15
Norwegian Cruise Line Holdings LTD v. State Surgeon Gen.,
  50 F.4th 1126 (11th Cir. 2022) ............................................................... 52, 53, 54
Otto v. City of Boca Raton,
  981 F.3d 854 (11th Cir. 2020) .............................................................................52

Pennhurst State Sch. & Hosp. v. Halderman,
  465 U.S. 89 (1984) ...........................................................................................8, 54

Pickering v. Bd. of Educ.,
  391 U.S. 563 (1968) ............................................................................ 3, 35, 51, 52

Pleasant Grove City v. Summum,
  555 U.S. 460 (2009) .......................................................................... 36, 38, 46, 48



                                                         vi
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 7 of 68




Prof’l Real Est. Inv’rs, Inc. v. Columbia Pictures Indus., Inc.,
  508 U.S. 49 (1993) ...............................................................................................30

Reichle v. Howards,
  566 U.S. 658 (2012) ................................................................................ 18, 19, 26

Rosenberger v. Rector & Visitors of the Univ. of Va.,
  515 U.S. 819 (1995) .............................................................................................36

Rumsfeld v. F. for Acad. & Institutional Rts., Inc.,
  547 U.S. 47 (2006) ...........................................................................................1, 16
Shahar v. Bowers,
  114 F.3d 1097 (11th Cir. 1997) ...........................................................................51

Shurtleff v. City of Boston,
  142 S. Ct. 1583 (2022) .................................................................................. 41, 47
Small Bus. in Trans. Coal. v. Bowser,
  No. 20-2645, 2022 WL 2315544 (D.D.C. June 28, 2022) ..................................39
Smith v. Mosley,
  532 F.3d 1270 (11th Cir. 2008) ...........................................................................10
Sorrell v. IMS Health Inc.,
  564 U.S. 552 (2011) ...................................................................................... 53, 54
Stanley v. City of Dalton,
  219 F.3d 1280 (11th Cir. 2000) ...........................................................................12
State ex rel. Hardee v. Allen,
  172 So. 222 (Fla. 1937)..........................................................................................2

State ex rel. Hardie v. Coleman,
  155 So. 129 (Fla. 1934)................................................................................. 25, 31

State v. Bloom,
  497 So. 2d 2 (Fla. 1986).......................................................................................48

Sussman v. U.S. Marshals Serv.,
  494 F.3d 1106 (D.C. Cir. 2007) ...........................................................................20



                                                         vii
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 8 of 68




Turner v. City Council of Fredericksburg,
  534 F.3d 352 (4th Cir. 2008) .................................................................. 38, 46, 47

United States v. Armstrong,
  517 U.S. 456 (1996) .............................................................................................25

United States v. Chem. Found.,
  272 U.S. 1 (1926) .......................................................................................... 19, 25

United States v. Scroggins,
  880 F.2d 1204 (11th Cir. 1989) ...........................................................................20
Walker v. Tex. Div., Sons of Confederate Veterans, Inc.,
 576 U.S. 200 (2015) ................................................................................ 38, 46, 47

Waters v. Churchill,
 511 U.S. 661 (1994) .............................................................................................10
Statutes

Conn. Charter of 1662..............................................................................................29
Fla. Const. art. IV, § 1 ....................................................................................... 25, 27
Fla. Const. art. IV, § 7 ...................................................................................... passim
Fla. Const. art. V, § 17 ...................................................................................... 45, 49

Fla. Const. of 1885, art. IV, § 15 .............................................................................30
Fla. Const. of 1885, art. IV, § 20 .............................................................................30

Fla. Stat. § 112.41 ....................................................................................................28
Fla. Stat. § 112.43 ............................................................................................. 25, 28

Mass. Bay Charter of 1629 ......................................................................................29

Mich. Const. of 1850, art. XII, § 8...........................................................................30

N.Y. Const. of 1821, art. IV, § 8..............................................................................30

Pa. Const. 1776, § 22 ...............................................................................................30

R.I. & Providence Plantations Charter of 1663 .......................................................29
                                                          viii
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 9 of 68




U.S. Const. amend. I ................................................................................................36

Vt. Const. of 1777, ch. II, § XX...............................................................................30

Wis. Const. of 1848, art. VI, § 4 ..............................................................................30
Other Authorities

Dozens of Elected Prosecutors Say They Will Refuse to Prosecute Abortion Care,
  NBC News (June 24, 2022, 10:38 PM),
  https://www.nbcnews.com/politics/politics-news/dozens-elected-prosecutors-
  say-will-refuse-prosecute-abortion-care-rcna35305 ............................................40

Fair and Just Prosecution, Facebook (June 21, 2022 8:56 AM),
  https://tinyurl.com/yd56x9da ...............................................................................41

I Blackstone, Commentaries on the Laws of England (Thomas M. Cooley ed.
   1884).....................................................................................................................29

Liberal Prosecutors in Red States Vow Not to Enforce Abortion Bans, Stateline
  (June 24, 2022), https://www.pewtrusts.org/en/research-and-
  analysis/blogs/stateline/2022/06/24/liberal-prosecutors-in-red-states-vow-not-to-
  enforce-abortion-bans ..........................................................................................40
Prosecution Discretion Power at Its Zenith: The Power to Protect Liberty, 97
  B.U.L. Rev. 489 (2017)................................................................................. 44, 45

Removal and Tenure in Office,
  92 Va. L. Rev. 1779 (2006) .................................................................................30

Restatement (First) of Torts § 674 (Am. L. Inst. 1938).................................... 29, 30
Some Big-City District Attorneys Vow not to Prosecute Abortion Cases, Setting Up
  Legal Clashes in Red States, CNN (June 30, 2022, 4:27 AM),
  https://www.cnn.com/2022/06/29/us/district-attorneys-abortion-prosecutions-
  invs .......................................................................................................................40
The Origins of the Elected Prosecutor,
  121 Yale L.J. 1528 (2012) ...................................................................................45
The Prosecutors Pledging Not to Enforce Abortion Bans, Brennan Ctr. (May 16,
  2022), https://www.brennancenter.org/our-work/research-reports/prosecutors-
  pledging-not-enforce-abortion-bans ....................................................................41

                                                              ix
      Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 10 of 68




Why the Constitution was Written Down,
 71 Stan. L. Rev. 1397 (2019) ...............................................................................29

With Roe Overturned, 83 Elected Prosecutors Commit to Not Prosecute Abortions
  (June 25, 2022), https://da.lacounty.gov/media/news/roe-overturned-83-elected-
  prosecutors-commit-not-prosecute-abortions ......................................................40




                                                      x
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 11 of 68




                                  INTRODUCTION

      This is a First Amendment retaliation case. Plaintiff Andrew Warren contends

that Governor Ron DeSantis suspended him under Article IV, Section 7 of the

Florida Constitution in retaliation for statements Mr. Warren made about refusing to

enforce laws that restrict abortion and gender-affirming care. For four reasons, he

will not prove that claim at trial.

      At the threshold, Mr. Warren will fail to show that his suspension was

substantially motivated by the expressive content of any speech. Instead, the

evidence will show that the Governor suspended Mr. Warren for the conduct that the

Governor reasonably took his speech to announce (blanket refusals to prosecute

certain types of cases) and for the state of mind that the Governor reasonably

believed it evinced (the view that a prosecutor can make such blanket refusals

consistent with Florida law). Neither of those reasons constitutes retaliation for

speech, even if the Governor learned of them by reading Mr. Warren’s words. See,

e.g., Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949) (the

government may criminalize antitrust conspiracies even though such conspiracies

are often created and evidenced through words); Rumsfeld v. F. for Acad. &

Institutional Rts., Inc., 547 U.S. 47, 62 (2006) (FAIR) (same for discrimination).

      Even if Mr. Warren can show that he was suspended in part because of the

message expressed in his statements, retaliatory-suspension cases like this one

                                          1
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 12 of 68




involve the same causal complexities and policy concerns that the Supreme Court

identified in Nieves v. Bartlett, 139 S. Ct. 1715 (2019) and its predecessors. Mr.

Warren therefore must show that the Governor lacked probable cause to suspend

him, see id. at 1725—a showing Mr. Warren will be unable to make. Again, the

Governor reasonably construed Mr. Warren’s statements to be either blanket refusals

to enforce Florida law or evidence that Mr. Warren was grossly ignorant of his

official responsibilities. Those circumstances amply justify suspension under the

Florida Constitution. See Ayala v. Scott, 224 So. 3d 755, 758–59 (Fla. 2017); Israel

v. DeSantis, 269 So. 3d 491, 495–96 (Fla. 2019); see also State ex rel. Hardee v.

Allen, 172 So. 222, 224 (Fla. 1937) (holding prosecutor’s refusal to enforce

gambling laws was a neglect of duty that justified suspension by the governor).

      If Mr. Warren shows a lack of probable cause, he still will be unable to

establish the first element of his prima facie case—that his statements were protected

speech. For one thing, his statements were unprotected government speech under

both the Supreme Court’s bright-line rule in Garcetti v. Ceballos, 547 U.S. 410

(2006), and the general three-factor test for identifying when an individual is

speaking as the government, Gundy v. City of Jacksonville, 50 F.4th 60 (11th Cir.

2022). But even if Mr. Warren spoke in a non-government capacity, his speech was

still unprotected because it was subject to a conduct restriction that only incidentally

burdens speech—the Florida Constitution’s suspension power. And at the least, Mr.

                                           2
     Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 13 of 68




Warren’s statements that he could choose (and in fact had chosen) not to enforce

particular Florida laws substantially interfered with his responsibilities as chief

prosecutor for the Thirteenth Judicial Circuit, divesting his speech of First

Amendment protection under Pickering v. Board of Education, 391 U.S. 563 (1968).

       Finally, even if Mr. Warren establishes all that, the Governor will meet his

burden to show that retaliatory motive was not a “but-for cause” of the suspension,

because he would have suspended Mr. Warren even “without a retaliatory motive.”

Hartman v. Moore, 547 U.S. 250, 260–61 (2006) (discussing Mt. Healthy City Sch.

Dist. Bd. of Educ. v. Doyle, 429 U.S. 274 (1977)). Simply put, the Governor fairly

concluded that Mr. Warren was neglectful or incompetent. “While the exercise of

individual liberties must not be chilled, such rights are not a shield to protect one

from one’s own malfeasance.” Marshall v. City of Cape Coral, 797 F.2d 1555, 1561

(11th Cir. 1986) (affirming summary judgment for employer under same-decision

defense when employee failed to perform his job duties).

                     FACTS AND PROCEDURAL HISTORY

       The Governor incorporates the factual section in his Consolidated Motion to

Dismiss and Response in Opposition to Motion for Preliminary Injunction, DE 30,

and in his contemporaneously filed pretrial stipulation. He briefly recaps the facts

and posture here for context, but does not profess to catalogue the universe of facts

that he intends to establish at trial.

                                         3
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 14 of 68




      1. Andrew Warren was formerly State Attorney for the Thirteenth Judicial

Circuit. During his tenure, he established several policies related to the non-

prosecution of certain categories of cases. One policy instructed his office not to

“prosecut[e] crimes where the initial encounter between law enforcement and the

defendant results from a non-criminal violation in connection with riding a bicycle

or a pedestrian violation” except when the offense involves “a direct threat to public

safety, such as where an individual has suffered physical harm or where a firearm is

involved.” DE 1-1 at 5. He also instituted a policy of “presumptive non-enforcement

for certain criminal violations, including trespassing at a business location,

disorderly conduct, disorderly intoxication, and prostitution.” Id. (collectively, the

Presumptive Non-Prosecution Policies).

      Along with these policies, Mr. Warren signed two joint statements relating to

the enforcement of laws restricting abortion and gender-affirming care (the Abortion

Statement and the Gender Statement). In the Abortion Statement, Mr. Warren

pledged to “refrain from prosecuting those who [seek,] provide, or support

abortions” and to “decline to use [his] offices’ resources to criminalize reproductive

health decisions.” Id. at 7. And in the Gender Statement, he similarly “pledge[d] to

use [his] discretion and not promote the criminalization of gender-affirming

healthcare or transgender people,” asserting that such laws serve “no legitimate

purpose” and that those laws “do not promote public safety, community trust, or

                                          4
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 15 of 68




fiscal responsibility.” Id. at 4. Mr. Warren signed each of these statements using his

official title: “State Attorney, 13th Judicial Circuit (Tampa), Florida.” Id. at 20, 29.

Dozens of prosecutors from across the country joined him in signing these

statements, also brandishing their official designations. See id. at 15–20, 24–30.

      2. The evidence will show that in December 2021, the Governor became

concerned that some state attorneys in Florida may not be enforcing the law after

learning that prosecutors were failing to do so in other states. He asked his Senior

Advisor for Public Safety, Larry Keefe, to identify whether any state attorneys were

failing to fulfill their obligations under the Florida Constitution. While talking with

diverse law-enforcement officials—sheriffs, law-enforcement organizations, state

attorneys, and others—from around the state, Mr. Keefe kept hearing one name: Mr.

Warren. Further digging into Mr. Warren uncovered Mr. Warren’s Presumptive

Non-Prosecution Policies and the Gender Statement. Then, after Mr. Warren signed

the Abortion Statement in June 2022, Mr. Keefe approached Governor DeSantis’s

General Counsel Ryan Newman and Chief Deputy General Counsel Ray Treadwell

about suspending Mr. Warren.

      Mr. Newman reviewed the Presumptive Non-Prosecution Policies, the Gender

Statement, and the Abortion Statement. He became convinced, after speaking with

his staff, that Mr. Warren was repeatedly attempting to nullify swathes of Florida

laws and that he fundamentally misunderstood his role as a prosecutor. Mr. Newman

                                           5
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 16 of 68




believed that Mr. Warren’s pledge in the Abortion Statement was a sufficient ground

to suspend him, and that the Presumptive Non-Prosecution Policies and Gender

Statement provided further evidence supporting suspension. In July 2022, Mr.

Newman thus approached the Governor with the recommendation that he suspend

Mr. Warren for neglect of duty and incompetence under Article IV, Section 7 of the

Florida Constitution.

      The Governor was initially reluctant to suspend Mr. Warren because he was

unsure if Mr. Warren, based on a pledge that could easily be walked back, had

definitively refused to enforce Florida law or had evinced a belief to that effect. But

the Governor eventually determined that the Presumptive Non-Prosecution Policies,

the Gender Statement, and the Abortion Statement were categorical exemptions

from the enforcement of certain crimes that exemplified an escalating and

increasingly brazen pattern of disregard for the prosecutorial function. The Governor

viewed these statements as contrary to the prosecutorial role, which requires a case-

by-case analysis of all relevant facts on an individualized basis. He also believed

such broad, blanket statements vowing not to enforce Florida law would invite

lawlessness in Mr. Warren’s jurisdiction. The Governor thus instructed Mr. Newman

to draft a suspension order.

      Mr. Keefe provided Mr. Treadwell with an initial draft, and Mr. Treadwell

culled materials not relevant to suspension and refined the draft. Mr. Treadwell’s

                                          6
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 17 of 68




draft ultimately focused on Mr. Warren’s blanket policies—the Abortion Statement,

the Gender Statement, and the Presumptive Non-Prosecution Policies. A near-final

draft was then shared with the Governor. As part of his edits, the Governor told Mr.

Newman to cite Mr. Warren’s policies in such an order as to highlight what the

Governor was most concerned with: Mr. Warren’s escalating pattern or practice of

conduct and the progression of brazen defiance for Florida law that the policies

revealed.

      On August 4, 2022, the Governor signed the executive order drafted by his

staff, suspending Mr. Warren for neglect of duty and incompetence. DE 1-1. Among

other things, the order noted that Mr. Warren had “publicly proclaimed in writing

that he will not prosecute individuals who provide abortions in violation of Florida’s

criminal laws.” Id. at 7. That “avowed refusal to enforce certain criminal laws,”

explained the order, constituted “neglect of [Mr. Warren’s] duty” to exercise his

discretion case-by-case. Id. at 8. And the order expressed that Mr. Warren’s “public

proclamations of non-enforcement further demonstrate his incompetence and lack

of judgment arising from his gross ignorance of his official duties to faithfully

enforce the criminal law.” Id. at 9. “[I]n light of [his] strident representations of non-

enforcement and open defiance of the Florida Legislature,” the order stated, “there

is no reason to believe that [Mr.] Warren will faithfully enforce the abortion laws of




                                            7
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 18 of 68




this State and properly exercise his prosecutorial discretion on a case-specific and

individualized basis.” Id. at 8 (quotations omitted).

      3. After his suspension, Mr. Warren sued the Governor, seeking declaratory

and injunctive relief under federal and state law. DE 1. Count I alleged that the

Governor retaliated against him in violation of the First Amendment based on

alleged speech in the Gender and Abortion Statements, though it did not assert the

Governor’s reliance on the Presumptive Non-Prosecution Policies as a basis for the

retaliation claim. Id. ¶¶ 77–104. Count II sought an equitable writ of quo warranto

on grounds that the Governor lacked sufficient grounds to suspend him under Florida

law. Id. ¶¶ 105–31. The same day, Mr. Warren also moved for a preliminary

injunction, seeking reinstatement and the rescission of the Governor’s executive

order. DE 3. The Governor opposed the motion and moved to dismiss. DE 30.

      On September 19, the Court orally denied the preliminary injunction and

partially granted the motion to dismiss. DE 55. The Court dismissed Mr. Warren’s

state-law claim in Count II under Pennhurst State School & Hospital v. Halderman,

465 U.S. 89 (1984), but denied the motion as to the First Amendment retaliation

claim in Count I. DE 68. It later set trial for November 29, 2022. DE 69.




                                          8
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 19 of 68




                              LEGAL ARGUMENT

      To establish that the government retaliated against a plaintiff’s speech by

initiating a legal process, the plaintiff must make a “threshold showing” that the

government lacked probable cause to invoke that process. Nieves, 139 S. Ct. at 1727.

If he establishes a lack of probable cause, he must then show that (1) he engaged in

protected speech, (2) an adverse action was taken against him, and (3) the protected

speech was a “substantial motivating factor” for the action. See Moss v. City of

Pembroke Pines, 782 F.3d 613, 617–18 (11th Cir. 2015). If he does so, the burden

shifts to the defendant, who can rebut the prima facie case by showing that he would

have taken the same adverse action even without a retaliatory animus for protected

speech. Hartman, 547 U.S. at 260.

      Mr. Warren will fail at every step in dispute. For starters, he cannot establish

that the Governor was motivated by the expressive content of Mr. Warren’s speech.

Rather, the evidence will show that the Governor’s sole motive was to protect the

rule of law by suspending a prosecutor whom he reasonably believed had refused to

enforce the law and had an incompetent understanding of his job duties. Mr. Warren

will also be unable to prove that the Governor lacked probable cause to suspend him

under Florida law, as he must given the causal complexities and significant policy

concerns presented here. Nor will Mr. Warren show that he engaged in any protected

speech. And even if he demonstrates all that, the Governor will show that he would

                                          9
     Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 20 of 68




have suspended Mr. Warren for neglecting his duty and evincing incompetence

regardless of any alleged animus for his statements.

I.    Mr. Warren will fail to show that his suspension was substantially
      motivated by the expressive content of his speech.

       At trial, Mr. Warren will be unable to show that any protected speech

substantially motivated his suspension. See Castle v. Appalachian Tech. Coll., 631

F.3d 1194, 1197 (11th Cir. 2011) (citing Smith v. Mosley, 532 F.3d 1270, 1278 (11th

Cir. 2008)). Rather, the evidence will show that the Governor suspended Mr. Warren

because, and only because, the Governor reasonably construed Mr. Warren’s

statements to be announcements of blanket non-prosecution policies, or at the least,

indications that Mr. Warren believed he could impose such prosecutorial policies.

See Heffernan v. City of Paterson, 578 U.S. 266, 272 (2016) (“The facts as the

government reasonably understood them are what matter.” (simplified)); see also

Waters v. Churchill, 511 U.S. 661, 677 (1994) (plurality op.). In other words, the

evidence will show that the suspension was not motivated by the expressive content

of Mr. Warren’s statements, but by the conduct and state of mind that the Governor

fairly took those words to convey: neglect of his prosecutorial duty and an

incompetent understanding of his job function. See Israel, 269 So. 3d at 496; see

also Ayala, 224 So. 3d at 758 (“blanket refusal[s]” to enforce certain laws constitute

neglect of duty and show incompetence).


                                         10
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 21 of 68




      1. The evidence will show that the Governor suspended Mr. Warren for his

recalcitrance toward his prosecutorial duties and mistaken belief that such conduct

was proper. The Governor stated as much in the suspension order. DE 1-1. He noted

that Mr. Warren had “publicly proclaimed in writing that he will not prosecute

individuals who provide abortions in violation of Florida’s criminal laws.” Id. at 7.

That “avowed refusal to enforce certain criminal laws,” explained the Governor,

constituted “neglect of [Mr. Warren’s] duty” to exercise his discretion case-by-case.

Id. at 8. And the Governor expressed that Mr. Warren’s “public proclamations of

non-enforcement further demonstrate his incompetence and lack of judgment arising

from his gross ignorance of his official duties to faithfully enforce the criminal law.”

Id. at 9. “[I]n light of [his] strident representations of non-enforcement and open

defiance of the Florida Legislature,” the Governor wrote, “there is no reason to

believe that [Mr.] Warren will faithfully enforce the abortion laws of this State and

properly exercise his prosecutorial discretion on a case-specific and individualized

basis.” Id. at 8 (quotations omitted). The Governor was clear—he suspended Mr.

Warren for his evidenced neglect of duty and incompetent understanding of his

prosecutorial responsibilities.

      The Governor’s staff has also confirmed his intent. His General Counsel Ryan

Newman explained that the team that developed the suspension order was focused

on Mr. Warren’s clear misunderstanding of his role as a prosecutor and his

                                          11
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 22 of 68




nullification of Florida law. Their discussions with local law-enforcement leaders in

Hillsborough County revealed that Mr. Warren’s Presumptive Non-Prosecution

Policies in effect created categorical exemptions to the criminal law, leading to Mr.

Newman’s belief that the Gender and Abortion Statements were merely more

unabashed forms of that practice. His Chief Deputy General Counsel Ray Treadwell

echoed these concerns. As did the Governor’s Senior Advisor for Public Safety

Larry Keefe.

      Nor will Mr. Warren be able to show that speech, rather than the reasons the

Governor advanced in the suspension order, motivated his suspension. For one, the

evidence at trial will show that the Governor and his staff have been remarkably

consistent about why the Governor suspended Mr. Warren. See Stanley v. City of

Dalton, 219 F.3d 1280, 1291 n.20 (11th Cir. 2000) (citing Fikes v. City of Daphne,

79 F.3d 1079, 1084 (11th Cir. 1996) (inconsistency “indicates that appellant was

discharged for conduct other than” the proffered reasons)). From the start, the

Governor made his goals clear: He wanted to ensure that state attorneys in Florida

were enforcing the law. When he gave Mr. Keefe the green light to look for

prosecutors not enforcing the law, the Governor did not refer to any specific

prosecutor. Even when Mr. Warren was brought to his attention, the Governor was

at first unsure if Mr. Warren, based on a pledge that could potentially be walked

back, had definitively refused to enforce Florida law or indicated a belief to that

                                         12
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 23 of 68




effect. But the Governor ultimately concluded that the Presumptive Non-Prosecution

Policies, the Gender Statement, and the Abortion Statement were categorical

exemptions from the enforcement of certain crimes that invited lawbreaking and

exemplified an escalating and increasingly more concerning pattern of disregard for

the prosecutorial function. The Governor therefore insisted that the suspension letter

cite the policies in such an order to underscore Mr. Warren’s escalating pattern or

practice of conduct and the progression over time that the policies revealed, not the

statements’ subject matter. And the Governor went to great lengths to make his intent

clear, disciplining Christina Pushaw—his then-communications director—for a

tweet that could potentially give the impression that Mr. Warren’s suspension was

based on anything but his refusal to enforce Florida law and his belief that such

refusals were appropriate. DE 1 ¶ 62 (Pushaw tweet); see also DE 94-4 at 2–3 (Chief

of Staff James Uthmeier disciplining a staffer for publicly tweeting in a way that

could give the impression that the suspension was anything but a “legal

proceeding”).

      Finally, the Governor’s statements at the press conference on August 4 are

consistent with these motivations. The Governor highlighted that “over the last few

years,” prosecutors across the country have “take[n] it upon themselves to determine

which laws they like and will enforce and which laws they don’t like and then don’t

enforce.” DE 3-6 at 0:40–1:00. Those refusals to enforce the law have palpable

                                         13
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 24 of 68




consequences to communities and the “rule of law.” Id. at 0:30–1:30. For example,

the Governor continued, in some places individuals can enter a store “and steal a

certain amount of merchandise” without risking criminal prosecution, undermining

“public safety” and hurting working-class communities. Id. at 0:55–1:30. In

response, the Governor asked his staff to ensure that this “was not going to happen

here” by looking for state attorneys who were “nullify[ing]” Florida law. Id. at 1:15–

1:45. That inquiry “all came back” to Mr. Warren, who “put himself publicly above

the law.” Id. at 1:30–2:30. By signing the Gender and Abortion Statements, Mr.

Warren had effectively exercised a “veto” over the legislature’s authority, and by his

non-prosecution policies, he had refused to exercise “individualized and case-

specific” discretion. Id. at 2:00–4:30. The other presenters at the press conference

echoed the same sentiment—Mr. Warren had refused to enforce state laws, and his

removal would protect the community and promote respect for the rule of law. Id. at

7:00–39:00 (statements of Hillsborough County Sheriff Chad Chronister, Polk

County Sheriff Grady Judd, Pasco County Sheriff Chris Nocco, Attorney General

Ashley Moody, former Tampa Police Chief Brian Dugan, and then-Circuit Judge

Susan Lopez).

      A lack of any discriminatory history or comparators will also counsel in the

Governor’s favor at trial. See Burton v. City of Belle Glade, 178 F.3d 1175, 1189

(11th Cir. 1999). Mr. Warren will be unable to establish that any other official has

                                         14
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 25 of 68




been suspended by the Governor for the content of his speech, nor that other

individuals made similar speech and were not punished. See Lewis v. City of Union

City, 918 F.3d 1213, 1222–23 (11th Cir. 2019) (en banc). To be sure, Mr. Warren

identified two individuals in his motion for a preliminary injunction who are

allegedly comparators: Sheriff Dennis Lemma and Sheriff Chad Chronister. DE 3 at

16 & n.2. But the evidence at trial will show that those comparators are not “similarly

situated in all relevant respects” to Mr. Warren, Knight v. Baptist Hosp. of Mia., Inc.,

330 F.3d 1313, 1316 (11th Cir. 2003), because they did not issue comparable non-

enforcement policies. Moreover, Mr. Warren will be unable to establish that the

Governor was even aware of Sheriff Lemma’s or Sheriff Chronister’s statements—

a key requirement for establishing them as valid comparators. See id. at 1317 n.5;

see also Nix v. WLCY Radio/Rahall Commc’ns, 738 F.2d 1181, 1186 (11th Cir.

1984), abrogated on other grounds, Lewis, 918 F.3d at 1217–18 (“If an employer

applies a rule differently to people it believes are differently situated, no

discriminatory intent has been shown.” (simplified)).

      2. One final point: It does not matter that the Governor identified Mr.

Warren’s neglect of duty and incompetence primarily by reading Mr. Warren’s

written words. See Keeton v. Anderson-Wiley, 664 F.3d 865, 877–78 (11th Cir. 2011)

(refusal to do job that becomes “apparent through [] writings and [other forms of

speech] does not cloak [that refusal] in First Amendment protection”); cf. Gogel v.

                                          15
      Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 26 of 68




Kia Motors Mfg. of Ga., Inc., 967 F.3d 1121, 1148 (11th Cir. 2020) (en banc) (for

Title VII discrimination and retaliation claims, “our precedent makes clear, when

assessing whether [the government] has properly imposed an adverse action on an

employee based on that employee’s conduct, the question is not whether the

employee actually engaged in the conduct, but instead whether [the government] in

good faith believed that the employee had done so” (emphasis added)). The

government may regulate conduct that incidentally involves speech without

implicating the First Amendment. For instance, the State may pass an anti-

discrimination law that prohibits an employer from posting a “White Applicants

Only” sign because the law is regulating conduct (racial discrimination), even

though that conduct was announced and accomplished using words. See FAIR, 547

U.S. at 62; see also Keeton, 664 F.3d at 877–78. Likewise, the State may use a

defendant’s own words as evidence against him in a criminal trial, without running

afoul of the First Amendment. See Giboney, 336 U.S. at 502 (a regulation of conduct

does not transform into a regulation of speech “merely because the conduct was in

part initiated, evidenced, or carried out by means of language, either spoken, written,

or printed”). The same principle applies here.

II.    Mr. Warren’s claim will fail because he cannot show that the Governor
       lacked probable cause to suspend him.

       Even assuming Mr. Warren could show that the Governor based the

suspension on the expressive content of Mr. Warren’s speech, Mr. Warren’s claim
                                          16
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 27 of 68




faces still a threshold obstacle. First Amendment retaliation claims arising from

suspension orders will often pose vexing causation issues and, in all cases, threaten

to seriously impair the functioning of government. Thus, like in many other First

Amendment retaliation contexts, Mr. Warren can prevail only if he makes a

“threshold showing” that the Governor lacked probable cause to suspend him.

Nieves, 139 S. Ct. at 1727. Because he cannot, his claim will fail.

      A.     Mr. Warren must make a threshold showing that the Governor
             lacked probable cause to suspend him for neglect of duty and
             incompetence.

      For various types of First Amendment retaliation claims involving the

institution of legal process, the Supreme Court and Eleventh Circuit have required

plaintiffs to show that the government lacked probable cause to take the action. E.g.,

id. That requirement applies here.

      1. Several factors justify treating the lack of probable cause as an element of

a claim alleging that the government retaliated by using legal process. At the start,

that element ameliorates the otherwise thorny causation issues posed by such claims.

Whereas sometimes—as in the ordinary “public employment context”—

“establishing the causal connection between a defendant’s animus and a plaintiff’s

injury is straightforward,” id. at 1722, that inquiry is “not so straightforward” when

the alleged retaliatory action is the government’s institution of legal action, like a

prosecution, an arrest, or a civil lawsuit, id. at 1723–24; see also DeMartini v. Town

                                         17
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 28 of 68




of Gulf Stream, 942 F.3d 1277, 1304 (11th Cir. 2019). Indeed, many causes

contribute to the difficulty of proving or disproving causation “in a claim that [legal

process] was induced by an official bent on retaliation.” Hartman, 547 U.S. at 265.

       To start, a plaintiff’s protected speech will often be a “wholly legitimate

consideration” for the government “when deciding whether” legal process is

necessary to protect the public. Nieves, 139 S. Ct. at 1723–24. The “content and

manner of [the plaintiff’s] speech may convey vital information” about whether the

plaintiff has broken or intended to break the law. Id.; see also id. at 1720–21, 1724

(wholly legitimate for officers to identify a person “to be a threat based on . . . the

content and tone of his speech” when he approached the officers drunkenly and

yelled at them); DeMartini, 942 F.3d at 1305–06 (plaintiff’s speech was a “wholly

legitimate consideration” in determining whether probable cause existed to file a

civil RICO action). Given that speech will often indicate wrongdoing, and can thus

be a “proper basis” for adverse action, DeMartini, 924 F.3d at 1305, it is typically

difficult to parse “whether the adverse government action was caused by the

offic[ial’s] malice” toward the speech or instead by an appropriate response to the

“potentially [unlawful] conduct” that the speech evinced, Nieves, 139 S. Ct. at 1724;

see also Reichle v. Howards, 566 U.S. 658, 668 (2012).

      Compounding the difficulty of assessing causation in this context is that

multiple government actors are typically involved in the decision to institute legal

                                          18
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 29 of 68




process. Reichle, 566 U.S. at 667–68. Often, the actor with the allegedly retaliatory

motive will not be the actor that instigated legal action, see DeMartini, 942 F.3d at

1304, creating “the factual difficulty of divining” whose (if anyone’s) retaliatory

motive “induced the [adverse] action,” Hartman, 547 U.S. at 263. In DeMartini, for

instance, a town was alleged to harbor a retaliatory motive for filing a civil lawsuit,

but outside lawyers for the town were the ones that “conducted [the] investigations,

evaluated the facts, and [ultimately and] independently recommended” that the town

take the allegedly adverse action. 942 F.3d at 1304. Those degrees of separation

“widen[ed] the causal gap between the defendant’s animus and the plaintiff’s

injury,” Reichle, 566 U.S. at 668, making the “chain of causation” substantially

“more complex” than in a typical retaliation case, DeMartini, 942 F.3d at 1304; see

also Hartman, 547 U.S. at 262–63 (retaliatory-prosecution claims often involve such

a gap because they typically turn on the alleged “retaliatory animus” of an arresting

or investigative officer, not the prosecutor who “presse[s] charges”).

      Relatedly, the official instituting a legal process is often entitled to a

“presumption of regularity” that courts will “not lightly discard” given judicial

respect for “executive discretion.” Hartman, 547 U.S. at 263 (prosecutors); see also

United States v. Chem. Found., 272 U.S. 1, 14–15 (1926) (explaining that “in the

absence of clear evidence to the contrary, courts presume that [high-level executive

officials] have properly discharged their official duties”); Latif v. Obama, 666 F.3d

                                          19
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 30 of 68




746, 748 (D.C. Cir. 2011) (“The presumption of regularity supports the official acts

of [executive] officers . . . .” (quoting Sussman v. U.S. Marshals Serv., 494 F.3d

1106, 1117 (D.C. Cir. 2007)). That “added legal obstacle” makes it harder to

distinguish between a good-faith charging decision and one fueled by retaliatory

animus. Hartman, 547 U.S. at 263; cf. also DeMartini, 942 F.3d at 1304 (imparting

a presumption of regularity to lawyers who were “bound by the Florida Rules of

Professional Conduct”).

      Alongside these causal difficulties, challenges to the government’s institution

of legal process implicate serious public policy concerns. Government enforcement

actions serve important functions—they simultaneously protect the public in

individual cases, see DeMartini, 924 F.3d at 1305 (in which the government filed a

civil RICO lawsuit against an abusive public-records requester to “protect[] itself,

its coffers, and its taxpaying citizens”); Nieves, 139 S. Ct. at 1725 (in which an

officer arrested a disorderly citizen), while promoting the rule of law through

“general deterrence,” see United States v. Scroggins, 880 F.2d 1204, 1206 (11th Cir.

1989). But claims that animus motivated the government’s use of legal action hinge

on an official’s purportedly improper “state of mind,” which is notoriously “easy to

allege and hard to disprove.” Nieves, 139 S. Ct. at 1725 (quoting Crawford-El v.

Britton, 523 U.S. 574, 585 (1998)). The result is that “any inartful turn of phrase or

perceived slight during a legitimate use of legal process could land” an official “in

                                         20
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 31 of 68




years of litigation” and open the door to “broad-ranging discovery” for which there

“is no clear end” in sight. Id. (simplified).

      When retaliation suits become too easy to plead and too hard to defend, they

damage the public interest in many ways. First, the threat of “overwhelming

litigation” is likely to “dampen the ardor of all but the most resolute” public officials

in “the unflinching discharge of their duties,” id. (quoting Gregoire v. Biddle, 177

F.2d 579, 581 (2d Cir. 1949) (Learned Hand, C.J.)), “chilling” the performance of

critical functions entrusted to government officials by the public, cf. Florida v.

United States, 886 F. Supp. 2d 1301, 1303 (N.D. Fla. 2012) (Hinkle, J.). “[P]olicing

certain events like an unruly protest,” for example, would simply be unworkable if

officers were threatened by constant “litigation risk[].” Nieves, 139 S. Ct. at 1725.

Second, that risk encourages officials to “minimize their communication [when

taking official action] to avoid having their words scrutinized for hints of improper

motive—a result that would leave everyone worse off.” Id. Third, these suits

generate “expens[ive] litigation” while “diver[ting] official energy from pressing

public issues” and “deterr[ing] able citizens from acceptance of public office.”

Harlow v. Fitzgerald, 457 U.S. 800, 814 (1982). And fourth, motive manhunts in

challenges to government-instituted process inject arbitrariness into the legal system

“by making the constitutionality of [an enforcement action] vary from place to place




                                           21
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 32 of 68




and from time to time depending on the personal motives of individual officers.”

Nieves, 139 S. Ct. at 1725 (simplified).

      To “address[] those familiar concerns,” courts turn to a time-tested legal

element for establishing the improper use of legal process: the requirement that the

plaintiff “plead and prove the absence of probable cause” for the allegedly retaliatory

action. Id. at 1724–25. That requirement simplifies the causation inquiry in many

legal-process retaliation cases because the “absence” or “presence” of probable

cause to institute a legal process is “high[ly] probative” evidence of the

government’s retaliatory animus or its lack thereof. Hartman, 547 U.S. at 265; see

also Nieves, 139 S. Ct. at 1723 (probable cause is “highly valuable circumstantial

evidence that is” typically “apt to prove or disprove whether retaliatory animus

actually caused the injury” (simplified)). When probable cause is lacking, there is

often enough evidence to overcome the inherent difficulties present in a legal-

process retaliation case, ensuring that “the claim of retaliation will have some

vitality.” Hartman, 547 U.S. at 265; see also id. at 261 (a lack of probable cause

“will tend to . . . show that retaliation was the but-for basis for instigating the

[adverse action]”). But when probable cause exists, that too is “weighty evidence”

that animus did not drive the government’s enforcement decision. Nieves, 139 S. Ct.

at 1724; Hartman, 547 U.S. at 265 (the presence of probable cause is “high[ly]

probative” of an action’s propriety). And because the “existence of probable cause

                                           22
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 33 of 68




will be at issue in practically all” retaliation claims involving government-instituted

legal process, the no-probable-cause element provides substantial evidentiary

benefit “with little or no added cost,” Nieves, 139 S. Ct. at 1723 (simplified).

      The common law confirms the appropriateness of a no-probable-cause

requirement in many cases involving allegedly retaliatory government process. See

id. at 1726 (using the common law to confirm the Court’s precedential analysis).

“When defining the contours of a claim under § 1983, [courts] look to common-law

principles that were well settled at the time of its enactment.” Id. But there was no

tort for First Amendment retaliation in 1871, so courts search for the “closest

analogy” in defining the contours of a retaliation claim. DeMartini, 942 F.3d at 1308.

And when the purported retaliation involves the government’s allegedly improper

use of process, the most analogous common-law torts are usually “false

imprisonment” and “malicious prosecution,” Nieves, 139 S. Ct. at 1726, or

“wrongful civil proceedings,” DeMartini, 942 F.3d at 1308—all of which required

the plaintiff to prove probable cause “at common law,” id. at 1308–09; Nieves, 139

S. Ct. at 1726.

      2. Those considerations apply no less forcefully here. Mr. Warren claims that

the Governor has instituted a legal process—suspension under Article IV, Section 7

of the Florida Constitution—in retaliation for protected speech. Though the

Governor will establish at trial that he suspended Mr. Warren for his neglect of duty

                                          23
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 34 of 68




and incompetence, not in retaliation for protected speech, many exercises of the

suspension power may present a causal picture for proving retaliation that is just as

cloudy as that in claims for retaliatory arrest (Nieves), retaliatory prosecution

(Hartman), retaliatory civil process (DeMartini), or retaliatory administrative

proceedings (McBeth v. Himes, 598 F.3d 708 (10th Cir. 2010)).

      To begin with, speech is no doubt a “wholly legitimate consideration” for a

governor weighing whether there are grounds to suspend a state official. See Nieves,

139 S. Ct. at 1724. Take a governor who suspends an official for commission of “a

felony” or acts constituting “misfeasance” or “malfeasance,” where the proof of the

official’s crime is a confession. Fla. Const. art. IV, § 7(a). If that confession itself

contains otherwise protected speech, the official may seek to transform the

governor’s entirely lawful action into a First Amendment retaliation claim. The same

is true where, as here, a suspension occurs for “incompetence,” which includes

“gross ignorance of official duties.” Israel, 269 So. 3d at 496 (simplified). Speech—

even speech on politically charged issues, such as the appropriateness of enforcing

the death penalty, see Ayala, 224 So. 3d at 759—often will be the only way to

determine whether an official has such a misunderstanding. Applying Nieves’s no-

probable-cause requirement to that claim streamlines the causation inquiry and

respects the Governor’s suspension authority.




                                          24
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 35 of 68




      The Governor’s exercise of the suspension power is also entitled to the

“presumption of regularity” that courts have long afforded to exercises of “executive

discretion.” Hartman, 547 U.S. at 263. As the State’s highest-ranking “public

officer,” the Court must “presume that [the Governor has] properly discharged [his]

official duties” absent “clear evidence to the contrary.” Chem. Found., 272 U.S. at

14–15; see also United States v. Armstrong, 517 U.S. 456, 464 (1996) (the President

and “the President’s delegates” that “help him . . . ‘take Care that the Laws be

faithfully enforced’” are entitled to a presumption of regularity); Fla. Const. art. IV,

§ 1 (vesting the State’s “supreme executive power” in the Governor). And that

presumption should be particularly strong in the context of suspension. After all,

suspension is akin to a prosecutorial power, Fla. Stat. § 112.43 (“All suspensions . . .

shall be prosecuted by the Governor, the Governor’s legal staff, or an attorney

designated by the Governor.”); State ex rel. Hardie v. Coleman, 155 So. 129, 134

(Fla. 1934), and courts afford a “longstanding presumption of regularity” to

“prosecutorial decisionmaking,” Hartman, 547 U.S. at 263; cf. DeMartini, 942 F.3d

at 1304 (adopting the no-probable-cause requirement for retaliatory civil process in

part because the filing of a civil lawsuit is typically performed by a lawyer bound by

ethical rules, to whom the presumption of regularity applies).

      What is more, a suspension typically involves multiple government actors and

a “causal gap” between the decisionmaker (Florida’s governor) and the actors that

                                          25
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 36 of 68




developed the suspension (his staff). Reichle, 566 U.S. at 668; see also DeMartini,

942 F.3d at 1304 (explaining that lawyers there “conducted investigations, evaluated

the facts, and only then independently recommended the filing” of a civil lawsuit).

This case proves the point. The Governor of course made the final call to suspend

Mr. Warren. But as the evidence will show, his staff—General Counsel Ryan

Newman, Chief Deputy General Counsel Raymond Treadwell, and Senior Advisor

for Public Safety Larry Keefe—developed the suspension order from start to finish.

Mr. Keefe identified Mr. Warren as a potentially neglectful and incompetent state

attorney, created the initial bases for the suspension order, and completed an initial

draft. Mr. Newman and Mr. Treadwell analyzed and refined the bases for the

suspension. Mr. Newman then presented those bases to the Governor. And both Mr.

Newman and Mr. Treadwell drafted the final order and incorporated the Governor’s

edits. Those officials’ substantial involvement “widens the causal gap between the

defendant’s [alleged] animus and the plaintiff’s injury,” Reichle, 566 U.S. at 668,

stretching the “chain of causation” to yet another level, see DeMartini, 942 F.3d at

1304. And while none of those officials, as the trial will show, harbored any

retaliatory motive, the no-probable-cause requirement bypasses potentially

complicated causation issues in cases that are not so clear cut.

      Along with all that, the difficulties discussed above manifest here in spades.

The suspension power is integral to Florida’s governmental structure: It allows the

                                         26
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 37 of 68




Governor to “take care that the [State’s] laws be faithfully executed,” Fla. Const. art.

IV, § 1(a), by temporarily removing wayward officers from positions of power. But

if exercising that power embroiled governors (and their staff) in onerous litigation,

their “time would be monopolized by preparing and testifying in such cases,” cf. In

re U.S., 985 F.2d 510, 512 (11th Cir. 1993), their energies would be “divert[ed] . . .

from [more] pressing public issues,” Harlow, 457 U.S. at 814, and “expens[ive]

litigation” would siphon funds from the public fisc, id. Those risks combined would

“dampen the ardor of all but the most resolute” governor in “the unflinching

discharge of [his] duties.” Nieves, 139 S. Ct. at 1725 (quotation omitted); see also

Florida, 886 F. Supp. 2d at 1303 (discussing the “chilling effect” that the burdens of

litigation have on the good-faith performance of official duties).

       As in Hartman, Nieves, DeMartini, and Himes, a no-probable-cause

requirement solves all those problems. On the one hand, a lack of probable cause to

believe that justifications for suspension exist is “highly valuable circumstantial

evidence that . . . retaliatory animus actually caused the [suspension].” Nieves, 139

S. Ct. at 1723. But on the other, the presence of probable cause is “highly probative”

evidence of a governor’s (and his staff’s) good faith and “will suggest that [the

adverse action] would have occurred even without a retaliatory motive.” See

Hartman, 547 U.S. at 261. In other words, the stronger the objective grounds for

suspension, the less likely it is that the governor acted with a subjectively improper

                                          27
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 38 of 68




motive and vice versa. See Nieves, 139 S. Ct. at 1724 (“[Probable cause’s] absence

will . . . generally provide weighty evidence that . . . animus caused the [adverse

action], whereas the presence of probable cause will suggest the opposite.”).

        For just that reason, imposing a threshold no-probable-cause requirement “can

be made mandatory with little or no added cost.” Hartman, 547 U.S. at 265. Given

its probative value, probable cause is “likely to be raised by some party at some

point,” whether in the plaintiff’s prima facie case or in the governor’s same-decision

defense. Cf. id. Alongside the merits of the retaliation case, the suspended official

will also evaluate whether reasonable grounds for suspension exist while preparing

for the imminent Florida Senate proceeding, which will consider whether to remove

the suspended official permanently on the grounds stated in the suspension order.

See Fla. Senate Rs. 12.7, 12.9–15 (2020–2022); Fla. Stat. § 112.43. And the

suspended official will usually have most (if not all) of the evidence he needs to

assess whether the governor had probable cause, because the governor will have

issued an “executive order stating the [legal] grounds” for the suspension, Fla. Const.

art. IV, § 7(a), as well as “specify[ing] facts sufficient to advise both the officer and

the Senate as to . . . [its] basis,” Fla. Stat. § 112.41(1); see also DeMartini, 942 F.3d

at 1304–05 (adopting no-probable-cause requirement in part because the plaintiff

knew of the facts surrounding an allegedly retaliatory civil lawsuit brought against

him).

                                           28
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 39 of 68




      Finally, the common law underscores that a no-probable-cause requirement is

a proper fit for a retaliatory-suspension case brought under Section 1983. See Nieves,

139 S. Ct. at 1726; DeMartini, 942 F.3d at 1308. Again, there was no common-law

tort for First Amendment retaliation in 1871, so courts search for the “closest

analogy” in defining the contours of a retaliation claim. DeMartini, 942 F.3d at 1308.

And just like in DeMartini, the closest analogue to a retaliation claim based on civil

suspension proceedings is the tort of wrongful civil proceedings. See id.; see also

Thomas M. Cooley, Law of Torts 187–89 (1879); Francis Hilliard, The Law of Torts

or Private Wrongs 433–66 (4th ed. 1874); Restatement (First) of Torts § 674 (Am.

L. Inst. 1938). Indeed, Mr. Warren challenges the Governor’s “initiation of

proceedings” through suspension, which “set the machinery of” Florida’s legal

removal process “in motion” against him. See Restatement (First) of Torts § 674

cmt. a. That is precisely the injury that the tort of wrongful civil proceedings was

historically designed to remedy.1 See Martin L. Newell, A Treatise on the Law of


      1
        Legal procedures for executive-officer removal were settled features of the
law at the time of Section 1983’s adoption. In Blackstone’s time, the “coroner” was
an elected officer subject to “for cause” removal by the king. I Blackstone,
Commentaries on the Laws of England, 346 (Thomas M. Cooley ed. 1884). Three
corporate colonial charters provided for executive involvement in the removal of
elected officers. Mass. Bay Charter of 1629; Conn. Charter of 1662; R.I. &
Providence Plantations Charter of 1663; see also Nikolas Bowie, Why the
Constitution was Written Down, 71 Stan. L. Rev. 1397, 1416–17 (2019). Several
state constitutions from the Founding until the time around Section 1983’s adoption
featured similar systems in which governors could suspend or remove lower-level

                                         29
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 40 of 68




Malicious Prosecution, False Imprisonment, and the Abuse of Legal Process, ch. 1

§ 1 (1892) (defining the wrong in this tort as “institut[ing] proceedings maliciously

which [a person] has no good reason to believe are justified by the facts and the

law”). And like malicious prosecution and false imprisonment, Nieves, 139 S. Ct. at

1726, the tort of wrongful civil proceedings required the plaintiff to prove a lack of

probable cause for the initiation of the challenged legal proceedings. See

Restatement (First) of Torts §§ 674–75; see also DeMartini, 942 F.3d at 1309

(adopting a no-probable-cause threshold requirement in a retaliation claim when the

adverse action was analogous to a civil proceeding).

      B.     Mr. Warren will fail to show that the Governor lacked probable
             cause to suspend Mr. Warren.

      Mr. Warren will not meet the no-probable-cause element here. Probable cause

“requires no more than a ‘reasonabl[e] belie[f] that there is a chance that [a] claim

may be held valid upon adjudication.’” DeMartini, 942 F.3d at 1300–01 (quoting

Prof’l Real Est. Inv’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 62–63

(1993)). As applied here, Mr. Warren therefore bears the burden to prove that the

Governor did not reasonably believe—“based on the facts and circumstances known


executive officials. See N.Y. Const. of 1821, art. IV, § 8; Wis. Const. of 1848, art.
VI, § 4; Mich. Const. of 1850 (as amended 1862), art. XII, § 8; Fla. Const. of 1885,
art. IV, § 15, art. IV, § 20; see also Pa. Const. 1776, § 22; Vt. Const. of 1777, ch. II,
§ XX; Saikrishna Prakash, Removal and Tenure in Office, 92 Va. L. Rev. 1779,
1822–23 (2006). So this type of legal procedure would have been familiar to the
framers of Section 1983.
                                            30
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 41 of 68




to him”—that Mr. Warren engaged in “neglect of duty” or “incompetence.” See id.

at 1301.

      Under Florida law, “neglect of duty” means the “failure on the part of a public

officer to do and perform some duty or duties laid on him as such by virtue of his

office or which is required of him by law.” Israel, 269 So. 3d at 496 (quoting Hardie,

155 So. at 132). Incompetence exists when a person has “gross ignorance of official

duties or gross carelessness in the discharge of them.” Id. (quoting Hardie, 155 So.

at 133). Because prosecutors have a duty to enforce Florida law, a state attorney

neglects his duties when he declares a “blanket policy” of non-prosecution. Ayala,

224 So. 3d at 758–59. And because it also shows “a misunderstanding of Florida

law,” a genuine belief that one can promulgate blanket non-prosecution policies or

refuse to enforce laws based upon one’s own sense of which laws serve the public

interest similarly shows incompetence under the suspension standard. See id.

      The evidence at trial will establish that, based on the facts known to him, the

Governor reasonably believed he was authorized to suspend Mr. Warren. At the very

least, Mr. Warren’s own public statements gave the Governor a reasonable belief

that Mr. Warren either (1) announced blanket, non-individualized non-prosecution

policies or (2) genuinely believed that he could adopt such policies consistent with

his duties under Florida law. See DeMartini, 942 F.3d at 1300–01.




                                         31
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 42 of 68




      Starting with the Abortion Statement, Mr. Warren publicly stated that he

would “decline to use [his] offices’ resources to criminalize reproductive health

decisions” and “commit to exercise [his] well settled discretion and refrain from

prosecuting those who seek, provide, or support abortions.” DE 1-1 at 22 (emphasis

added). He emphasized that “prosecutors should not be part of [prosecuting abortion

cases]” even if democratically elected “legislatures . . . decide to criminalize

[abortion].” Id. at 24. 2 And in the Gender Statement, Mr. Warren “pledge[d] to . . .

not promote the criminalization of gender-affirming healthcare or transgender

people,” id. at 13, and “committed” to using his “settled discretion and limited



      2
       In addition to these, the Abortion Statement also asserted that:
     • “[W]e cannot stand by and allow members of our community to live
         in fear of the ramifications of this deeply troubling decision [i.e.,
         Dobbs].”
     • “[W]e stand together in our firm belief that prosecutors have a
         responsibility to refrain from using limited criminal legal system
         resources to criminalize personal medical decisions.”
     • “Enforcing abortion bans runs counter to the obligations and
         interests we are sworn to uphold.”
     • “As elected prosecutors, we have a responsibility to ensure that
         these limited resources are focused on efforts to prevent and address
         serious crimes, rather than enforcing abortion bans . . . .”
     • “Criminalizing and prosecuting individuals who seek or provide
         abortion care makes a mockery of justice; prosecutors should not be
         part of that.”
     • “We will continue to consider the prosecution of individuals who
         violate the autonomy of a pregnant person by carrying out a forced
         abortion, or who perform an abortion negligently or with the intent
         to cause harm to the pregnant person.”
See DE 1-1 at 22–24.
                                         32
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 43 of 68




resources on enforcement of laws that [be believes] will not erode the safety and

well-being of [the] community,” id. at 15. In other words, Mr. Warren would not use

any “criminal justice and law enforcement resources” on enforcing laws that he

disagreed with, such as laws criminalizing gender-affirming care. Id. A reasonable

person in the Governor’s position could rightly conclude that Mr. Warren was thus

refusing to exercise “individualized” prosecutorial discretion through blanket or

near-blanket non-prosecution policies, Ayala, 224 So. 3d at 758, or at the very least

signaling incompetence, cf. id. at 759.

      Next, Mr. Warren’s Presumptive Non-Prosecution Policies addressing

bicyclists, pedestrians, and certain misdemeanors could reasonably be construed as

negating particular legislative enactments. Mr. Warren instructed his prosecutors not

to charge “where the initial encounter between law enforcement and the defendant

results from a non-criminal violation in connection with riding a bicycle or a

pedestrian violation,” with the “only exception” being for crimes posing a “direct

threat to public safety, such as where an individual has suffered physical harm or

where a firearm is involved.” DE 1-1 at 5. Likewise, the Governor was aware of

Mr. Warren’s policy of “presumptive non-enforcement for certain criminal

violations, including trespassing at a business location, disorderly conduct,

disorderly intoxication, and prostitution.” DE 1-1 at 4–5. This presumption could

only be overcome by “significant public safety concerns.” DE 1-3 at 2. The Governor

                                          33
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 44 of 68




reasonably concluded that these policies clashed with Florida law’s requirement that

prosecutorial discretion be exercised on an “individualized” basis, Ayala, 224 So. 3d

at 759, rather than in some sort of “presumptive” manner disfavoring prosecution.

The practical effect of these policies is that Mr. Warren rewrote Florida’s criminal

law to add a new, subjective element to these crimes—that there also be significant

public safety concerns.

      In addition to Mr. Warren’s public statements, the other facts known by the

Governor buttressed his determination of probable cause. The evidence adduced at

trial will show that as early as January 2021, law-enforcement officers and other

state attorneys in Florida began identifying Mr. Warren to the Governor’s staff as a

state attorney who would not enforce the law. From his conversations with law-

enforcement officials, Senior Advisor for Public Safety Larry Keefe saw that all

roads in this inquiry led to Mr. Warren. Those most likely to know the practical

impact of Mr. Warren’s prosecution policies, the local law-enforcement officials in

Hillsborough County—including Sheriff Chad Chronister and former Tampa Police

Chief Brian Dugan—told the Governor’s office about their problems with Mr.

Warren’s lack of enforcement, including improperly declined criminal prosecutions.

Sheriff Chronister told the Governor’s staff that the Presumptive Non-Prosecution

Policies created, in effect, categorical exemptions to certain crimes. As a result, the

Governor’s team concluded that Mr. Warren’s office was not exercising

                                          34
       Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 45 of 68




individualized discretion under the Presumptive Non-Prosecution Policies and that

the later-adopted Abortion and Gender Statements were merely more brazen forms

of this practice. These findings and concerns were relayed to the Governor at a July

meeting with Mr. Keefe and General Counsel Ryan Newman, and through the draft

of the executive order that the Governor reviewed.

        In sum, the question under Nieves is not whether the Florida Senate could

ultimately remove Mr. Warren. The only question is whether the Governor had

probable cause to believe Mr. Warren’s suspension was authorized under Florida

law. He undoubtedly did.

III.    Mr. Warren cannot establish that the relevant speech was protected
        under the First Amendment.

        Even if Mr. Warren could show a lack of probable cause, his retaliation claim

will still fail for another, independent reason: Mr. Warren cannot establish the first

element of his prima facie case—that the Abortion and Gender Statements constitute

protected speech under the First Amendment. That is because the statements are

either unprotected government speech, see Garcetti v. Ceballos, 547 U.S. 410

(2006); Gundy v. City of Jacksonville, 50 F.4th 60 (11th Cir. 2022), speech that

substantially interferes with Mr. Warren’s job duties, Pickering v. Board of




                                          35
     Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 46 of 68




Education, 391 U.S. 563 (1968), or speech incidentally burdened by a valid conduct

restriction.

       A.      Mr. Warren’s statements were unprotected government speech.

       If Mr. Warren spoke as the government when making the Abortion and

Gender Statements, those statements were unprotected speech. See Pleasant Grove

City v. Summum, 555 U.S. 460, 469 (2009) (“[G]overnment speech is not restricted

by the Free Speech Clause.”). The First Amendment protects the people’s “freedom

of speech,” U.S. Const. amend. I, and thus “restricts government regulation of

private speech; it does not regulate government speech,” Mech v. Sch. Bd. of Palm

Beach Cnty., 806 F.3d 1070, 1074 (11th Cir. 2015) (emphasis added); see also

Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 841 (1995) (there

is a “critical difference between government speech” limited only by the

Establishment Clause “and private speech . . . , which the Free Speech and Free

Exercise Clauses protect”).

       In joining the Gender and Abortion Statements, Mr. Warren was speaking for

the government, under either the bright-line rule of Garcetti or the more general

three-factor test in Gundy.

       1. The Governor adopts his prior arguments that Mr. Warren’s statements

were unprotected government speech under Garcetti. See DE 30 at 7–13; DE 60 at

4–7; see also Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2424 (2022)

                                         36
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 47 of 68




(describing Garcetti as a government-speech case). But he raises one additional

point. In denying the Governor’s motion to dismiss, the Court reasoned that Mr.

Warren did not act pursuant to his job duties by participating in the Abortion and

Gender Statements because it was not his “duty, as state attorney, to join in writings

of this kind, let alone to join in these specific writings.” DE 68 at 16. That answers

the wrong question. It is true that a state attorney has no duty to join public

statements with other prosecutors denouncing certain laws, but a state attorney does

have a duty to, and often does, institute and articulate prosecutorial policies for his

jurisdiction. Supra Part II.B. And as explained above, supra Parts I–II.B, that is what

the Governor reasonably took Mr. Warren to do in the Gender and Abortion

Statements: He announced how he intended to exercise prosecutorial discretion in

carrying out the duties of his office. See Culter v. Stephen F. Austin State Univ., 767

F.3d 462, 469–70 (5th Cir. 2014) (courts must take a “deferential approach” when

determining whether “speech [was] made pursuant to [official] duties or as a citizen

on a matter of public concern”); cf. Ayala, 224 So. 3d at 756 (State Attorney Aramis

Ayala announced at a press conference that she would not seek the death penalty).

Because such announcements no doubt would have been made “in furtherance of”

Mr. Warren’s “ordinary responsibilities” as a state attorney, they plainly were made

in his official capacity. Alves v. Bd. of Regents of Univ. Sys., 804 F.3d 1149, 1159–

62 (11th Cir. 2015); see also Lane v. Franks, 573 U.S. 228, 239 (2014) (“The critical

                                          37
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 48 of 68




question under Garcetti is whether the speech at issue is itself ordinarily within the

scope of an employee’s duties . . . .”).

      2. Garcetti aside, Mr. Warren’s speech also qualifies as unprotected

government speech under the standard three-part test for determining whether a

message stems from the government or a private speaker. See, e.g., Gundy, 50 F.4th

at 71–80 (applying three-part government speech test to a legislative invocation and

concluding that it was government speech); Matal v. Tam, 137 S. Ct. 1744, 1757–

60 (2017) (trademarks were not government speech); Walker v. Tex. Div., Sons of

Confederate Veterans, Inc., 576 U.S. 200, 207 (2015) (license plates were

government speech); Summum, 555 U.S. at 481 (public park monuments were

government speech). The Gundy test is distinct from Garcetti and unquestionably

applies to the speech of elected officials. 3


      3
         See, e.g., Davison v. Randall, 912 F.3d 666, 686 (4th Cir. 2019) (applying
three-part government speech test to an elected official Facebook page and
concluding that the official’s posts were government speech but that the interactive
portions of her Facebook page were not government speech); Knight First Amend.
Inst. at Columbia Univ. v. Trump, 928 F.3d 226, 239 (2d Cir. 2019), cert. granted,
judgment vacated for mootness sub nom. Biden v. Knight First Amend. Inst. at
Columbia Univ., 141 S. Ct. 1220 (2021) (assuming that an elected official’s tweets
were government speech); Goldstein v. Galvin, 719 F.3d 16, 30 (1st Cir. 2013)
(applying this test and concluding that an elected official’s “use of the plaintiff’s
name in a website announcement” was government speech); Choose Life Ill., Inc. v.
White, 547 F.3d 853, 855 (7th Cir. 2008) (applying this test and concluding, before
Walker, that elected official’s refusal to issue specialty license plate was not
government speech); Turner v. City Council of Fredericksburg, 534 F.3d 352, 354–
55 (4th Cir. 2008) (O’Connor, J., retired) (applying this test and concluding that

                                           38
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 49 of 68




      Under Gundy, courts first zero in on the “type of speech under scrutiny.” 50

F.4th at 77. From there, they balance three factors—history, the public’s perception

of whether the government endorses the speech, and the government’s control of the

speech—to determine whether that type of speech is attributable to the government.

See id. at 76. No factor is dispositive, “but ‘a finding that all [three factors] evidence

government speech will almost always result in a finding that the speech is that of

the government.’” Id. at 77 (quoting Leake v. Drinkard, 14 F.4th 1242, 1248 (11th

Cir. 2021)).

      Mr. Warren’s Gender and Abortion Statements are government speech. Those

statements announced how Mr. Warren intended to deploy the resources of his office

in prosecuting crimes. And history, endorsement, and control all demonstrate that

such announcements were not made in his individual capacity, but as an arm of the

government that he represents.




legislative invocations given by an elected official were government speech); Small
Bus. in Transp. Coal. v. Bowser, No. 20-2645, 2022 WL 2315544, at *1–4 (D.D.C.
June 28, 2022) (applying this test and concluding that a mural commissioned by the
District of Columbia’s elected mayor was government speech); cf. also Newton v.
LePage, 700 F.3d 595, 602–04 (1st Cir. 2012) (noting that “the [then-nascent]
government speech doctrine favors the result we reach” that removal of a mural on
government property did not violate the First Amendment, because the government
may “disassociate itself from an endorsement implicit” in the art that “interfer[ed]
with the message of neutrality the administration wishes to portray”).
                                         39
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 50 of 68




             i.    The Abortion and Gender Statements were announcements of
                   prosecutorial policies.

      The “type of speech under scrutiny” here, id., is the announcement of Mr.

Warren’s prosecutorial intentions. The characteristics of such announcements are

straightforward: They generally are signed by a high-ranking prosecutorial official,

communicate to the public how a prosecutorial office intends to carry out its duties,

and explain the office’s rationale for doing so. Cf. Dep’t of Just., Justice Manual,

§§ 9-27.001–.130 (2018).

      Mr. Warren’s statements have all that. Starting at the top, the Abortion and

Gender Statements were signed by dozens of high-level prosecutors, each

brandishing their official titles. DE 1-1 at 13–30. Mr. Warren was no exception—he

signed the statements as “State Attorney, 13th Judicial Circuit (Tampa), Florida.”

Id. at 20, 29. Many observers 4 besides the Governor therefore fairly recognized that


      4
         See, e.g., Casey Tolan, Some Big-City District Attorneys Vow not to
Prosecute Abortion Cases, Setting Up Legal Clashes in Red States, CNN (June 30,
2022, 4:27 AM), https://www.cnn.com/2022/06/29/us/district-attorneys-abortion-
prosecutions-invs; Christine Vestal, Liberal Prosecutors in Red States Vow Not to
Enforce        Abortion       Bans,      Stateline      (June      24,     2022),
https://www.pewtrusts.org/en/research-and-analysis/blogs/stateline/2022/06/24/
liberal-prosecutors-in-red-states-vow-not-to-enforce-abortion-bans; Zoë Richards,
Dozens of Elected Prosecutors Say They Will Refuse to Prosecute Abortion Care,
NBC News (June 24, 2022, 10:38 PM), https://www.nbcnews.com/politics/politics-
news/dozens-elected-prosecutors-say-will-refuse-prosecute-abortion-care-
rcna35305; L.A. Cnty. Dist. Att’y’s Office, With Roe Overturned, 83 Elected
Prosecutors Commit to Not Prosecute Abortions (June 25, 2022),
https://da.lacounty.gov/media/news/roe-overturned-83-elected-prosecutors-

                                         40
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 51 of 68




the prosecutors signed these statements in their official capacities. See Shurtleff v.

City of Boston, 142 S. Ct. 1583, 1589 (2022) (the “public’s likely perception as to

who (the government or a private person) is speaking” is critical to the “holistic

[government speech] inquiry”). The Executive Director of Fair and Just

Prosecution—the group that drafted the statements—characterized the abortion

statement as “[n]early 70 elected prosecutors . . . com[ing] together in a joint

statement . . . to pledge not to criminalize abortion.” Lauren-Brooke Eisen, The

Prosecutors Pledging Not to Enforce Abortion Bans, Brennan Ctr. (May 16, 2022),

https://www.brennancenter.org/our-work/research-reports/prosecutors-pledging-

not-enforce-abortion-bans. And even Gary Weissman, Mr. Warren’s chief of staff,

relayed to the Governor’s Public Safety Advisor Larry Keefe that he had warned Mr.

Warren that the Abortion Statement was an official pronouncement that carried a

risk of suspension under Ayala.

      The statements also informed the public of how their signatories would

exercise their prosecutorial authority: by committing to blanket non-enforcement

policies. In the Abortion Statement, for example, signatories pledged to “decline to

use [their] offices’ resources to criminalize reproductive health decisions” to “refrain


commit-not-prosecute-abortions (viewing the joint statement on abortion as a
commitment to “never prosecute a woman for making private, medical choices about
her own body”); Fair and Just Prosecution, Facebook (June 21, 2022 8:56 AM),
https://tinyurl.com/yd56x9da (“Over 75 criminal justice leaders . . . pledged to not
use limited resources to criminalize gender-affirming healthcare.”).
                                         41
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 52 of 68




from prosecuting those who seek, provide, or support abortions,” to “not be a part”

of the criminal enforcement of abortion laws, regardless of what state “legislatures

may decide.” DE 1-1 at 22–24. The group that drafted the statement also called it a

“pledge not to criminalize abortion,” and a “commitment to not criminalize

reproductive choice.” Eisen, supra. And in the Gender Statement, signatories

“pledge[d] to use their discretion and not promote the criminalization of gender-

affirming healthcare or transgender people” and to use “limited resources on

enforcement of laws that [they believe] will not erode the safety and well-being of

[the] community,” while also committing to not use “criminal justice and law

enforcement resources on criminalization of doctors” who provide gender-affirming

care. DE 1-1 at 13–15. Neither statement left the public in doubt—the signatories

did not intend to prosecute crimes related to abortion and gender-affirming care.

      Lastly, each statement explained the reasons driving its signatories’ joint

prosecutorial decision. In the Abortion Statement, signatories stated that

“generations of Americans have come of age relying upon [the right to abortion].”

Id. at 22. Abortion bans, in Mr. Warren’s view, also “erode trust in the legal system,

hinder [the] ability to hold perpetrators accountable, take resources away from the

enforcement of serious crime, and inevitably lead to the retraumatization and

criminalization of victims of sexual violence.” Id. at 22. As a result, signatories

stated that prosecutors, acting in “the pursuit of justice . . . , should not be part of

                                          42
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 53 of 68




[prosecuting abortion cases].” Id. at 22–24. Similarly for the Gender Statement,

signatories cited statistics on the victimization of and suicidal ideation by

transgender individuals and noted their belief that gender-affirming care

prohibitions, in whatever form, “intensif[y]” these harms by “isolat[ing],

discriminat[ing] against, and criminaliz[ing] transgender people.” Id. at 13. 5

      Because both statements possess all the hallmarks of announcements of

prosecutorial policies, and stated Mr. Warren’s intentions about how he would

prosecute cases, the Court should treat them as such.

             ii.    Announcements of prosecutorial policy like Mr. Warren’s were
                    attributable to the government under the Gundy factors.

      As applied to Mr. Warren’s prosecutorial policy announcements, all the

Gundy factors point in one direction: Mr. Warren carried a message for the

government, not for himself. This Court should thus rule that his statements were

unprotected government speech.

      1.     History. Courts look first to “whether the type of speech under scrutiny

has traditionally communicated messages on behalf of the government.” Gundy, 50


      5
         It is beside the point that no abortion or gender-affirming-care case was
referred to Mr. Warren’s office. Prosecutorial policies are prospective by design and
are intended to guide prosecutors in future cases. See DE 1-4 (Mr. Warren’s policy
stating that, for referred bicycle or pedestrian violations in the future, “there is a
presumption that our office will not file charges” (emphasis added)). Even if a policy
will only later “spring” into effect by not prosecuting a case that is eventually
referred to his office, it remains a policy—which is just an intention about how to
exercise prosecutorial authority in the future—all the same.
                                           43
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 54 of 68




F.4th at 77 (quoting Cambridge Christian Sch., Inc. v. Fla. High Sch. Athletic Ass’n,

942 F.3d 1215, 1232 (11th Cir. 2019)). If a type of speech boasts a “well-recognized

history of communicating [government] messages,” that favors a government-

speech classification, although “a long historical pedigree is not a prerequisite.”

Cambridge Christian, 942 F.3d at 1232. At bottom, where “both . . . the medium

used . . . and the message conveyed through it are . . . traditionally associated with

governments,” Gundy, 50 F.4th at 78 (quoting Leake, 14 F.4th at 1249), history

“weighs in favor of a government speech finding,” id.

      Both the medium and message here were “traditionally associated with

governments.” Id. The medium—a public statement signed by government officials

and intended to announce the adoption of uniform prosecutorial policies—was

expressly associated with government. “Broad categorical prosecutorial discretion

policies were implemented by a number of early presidents. Presidents Washington,

Adams, Jefferson, Madison, Lincoln, and Johnson all granted amnesty from

prosecution to a broad class of individuals.” Peter L. Markowitz, Prosecution

Discretion Power at Its Zenith: The Power to Protect Liberty, 97 B.U.L. Rev. 489,

498 & n.40, 499 n.45 (2017) (citing sources). The Department of Justice’s Justice




                                         44
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 55 of 68




Manual (previously called the United States Attorneys’ Manual), which

communicates to the public through a similar medium, was first issued in 1953. 6

         Mr. Warren’s message—how a high-level government official planned to

carry out his executive duties—was also traditionally associated with government.

To start, it was governmental by nature because it informed the public about what

the government is doing and how it is doing it. Famously, along with pardoning

those prosecuted under the Sedition Act, President Thomas Jefferson “ordered his

district attorneys to enter nolle prosequis” in all prosecutions under the Sedition Act.

Markowitz, supra at 498–99 & n.45. Mr. Warren’s message, like President

Jefferson’s, concerned how government prosecutors should proceed with criminal

cases. And there are few more “traditional” officials to communicate these

government messages than elected state attorneys, a common feature in American

government for almost 200 years, see Michael J. Ellis, The Origins of the Elected

Prosecutor, 121 Yale L.J. 1528, 1530 (2012), and in Florida’s for 50 years, see Fla.

Const. art. V, § 17 (adopted 1972). State attorneys uniquely have both the ability to

sign an announcement of prosecutorial policy and the power to mean it. Accordingly,

the history factor “weighs in favor of a government speech finding.” Gundy, 50 F.4th

at 78.



         6
          United States Attorneys’ Manual & Resource Manual Archives, Dep’t of
Just., https://www.justice.gov/archive/usao/usam/index.html.
                                         45
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 56 of 68




      2.    Endorsement. The endorsement factor focuses on “whether the kind of

speech at issue is often closely identified in the public mind with the government.”

Id. (internal quotations omitted). Another formulation of this standard is “whether

‘observers reasonably believe the government has endorsed the message.’”

Cambridge Christian, 942 F.3d at 1232–33 (quoting Mech, 806 F.3d at 1076). For

example, monuments in public parks are identified with the government’s message

because those “parks are often closely identified in the public mind with the

government unit that owns the land, and because it certainly is not common for

property owners to open up their property for the installation of permanent

monuments that convey a message with which they do not wish to be associated.”

Id. (simplified) (quoting Summum, 555 U.S. at 471–72). Additionally, state-issued

license plates are closely identified with the government because they bear the

State’s name and are required and regulated “for undeniably governmental

purposes.” Id. (citing Walker, 576 U.S. at 212). In sum, the endorsement inquiry is

broader than any particular set of facts and turns on whether a speaker speaks “on

behalf of the government,” Gundy, 50 F.4th at 79 (quoting Turner v. City Council of

Fredricksburg, 534 F.3d 352, 356 (4th Cir. 2008) (O’Connor, J., retired)), such that

“a member of the public . . . would identify the [speech] with the [relevant

government entity], given the occasion,” id.




                                        46
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 57 of 68




      Here, “reasonable observers” no doubt would believe that Mr. Warren’s

statements flowed from the government. A chief prosecutor’s announcement of

prosecutorial policy is inherently “closely identified” with the government. See

Gundy, 50 F.4th at 78. The public naturally associates his messages with the

government because the “literal speaker” is a high-level government official, even

if elected. See Davison v. Randall, 912 F.3d 666, 686 (4th Cir. 2019) (holding that

an elected official’s posts on her government Facebook page were government

speech); Turner, 534 F.3d at 354–55. And Mr. Warren left no doubt of his high-level

government status, as he signed the statements with his title as state attorney—a title

and duties borne only because of Florida’s governmental structure. Just as the word

“TEXAS” being stamped on a license plate associates the plate’s message with the

government, Walker, 576 U.S. at 212, so too does Mr. Warren placing “State

Attorney 13th Judicial Circuit (Tampa), Florida” on two “Joint Statement[s] from

Elected Prosecutors,” see Cambridge Christian, 942 F.3d at 1233. DE 1-1 at 13, 20,

22, 29.

      Moreover, reasonable observers were likely to believe that a high-level

government official, speaking about the duties traditionally assigned to that position,

provides the position of the government on the exercise of those duties. See Shurtleff,

142 S. Ct. at 1589 (focusing on “the public’s likely perception” in the endorsement

factor). Just as observers of a public monument reasonably infer the property owner

                                          47
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 58 of 68




to be the speaker of that monument’s message because property owners do not

usually permit monuments offensive to their views on their land, Summum, 555 U.S.

at 471, observers would reasonably infer Mr. Warren’s statements to represent the

message of his governmental office because private persons do not typically pledge

their prosecutorial discretion. Private speakers save their breath because they have

no prosecutorial discretion. So reasonable observers would conclude that this

message came from an entity that could pledge such power: the government. See

State v. Bloom, 497 So. 2d 2, 3 (Fla. 1986) (describing the decision to prosecute as

“an executive responsibility”). That assumption is confirmed by the public

describing these statements as non-enforcement pledges 7 and, in the case of the

Abortion Statement, by the drafter of the language itself. Eisen, supra (calling the

statement a “pledge” and “commitment” not to enforce abortion restrictions).

      Accordingly, the endorsement factor also weighs toward a finding that these

statements were government speech.

      3.       Control. Finally, the control factor focuses on whether the “relevant

government unit maintains direct control over the messages conveyed through the

speech in question.” Gundy, 50 F.4th at 79 (quoting Cambridge Christian, 942 F.3d

at 1234). The government, however, need not “control every word or aspect of

speech in order for the control factor to lean toward government speech.” Id.


      7
          See sources cited supra note 4.
                                            48
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 59 of 68




(simplified) (quoting Cambridge Christian, 942 F.3d at 1235–36). Instead, inviting

a speaker “inherently exhibits governmental control over [speech] from the outset of

the selection process,” even when a private citizen is “the literal speaker.” Id. at 79–

80 (simplified). The government therefore need not have “initial editorial rights over

the exact content” of speech for the control factor to cut toward a finding of

government speech. Id. at 80.

      Here, the government totally controlled Mr. Warren’s speech because that

message came “[s]traight from the horse’s mouth.” Aldous Huxley, Brave New

World 3 (1932). Unlike in Gundy, here a government official, not a private person,

was the “literal speaker.” 50 F.4th at 79–80 (quotation omitted). Mr. Warren was the

State Attorney for the 13th Judicial Circuit and was therefore “the prosecuting

officer in all trial courts in that circuit.” Fla. Const. art. V, § 17. Who could have

more control over the announcement of a government office’s policies and actions

than the head of that office? Because Mr. Warren had “initial editorial rights” over

his office’s policies and how to announce them, he was the relevant government

official with control. That explains, for example, why in Page, the Fourth Circuit

determined that the elected Chair of the Loudon County Board of Supervisor’s

social-media messages were government speech because she “effectively

controlled” those messages. Davison, 912 F.3d at 672–73, 687. The same was true

here: as the elected head of the 13th Judicial Circuit State Attorney’s office, Mr.

                                          49
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 60 of 68




Warren had complete control over his office’s prosecutorial policies and how to

announce them. This amounts to “initial editorial rights,” which weigh this factor in

the Governor’s favor. See Gundy, 50 F.4th at 80.

                                   *     *      *

      All said, each Gundy factor points to one conclusion: Mr. Warren’s

announcements of his prosecutorial policies were not his speech, but the

government’s speech. See id. at 77 (stating that “a finding that all [three factors]

evidence government speech will almost always result in a finding that the speech is

that of the government” (quotation omitted)). And because the government’s speech

was not protected by the First Amendment, see id. at 71, there was no protected

speech present here, even counting Mr. Warren’s elected status, see supra note 3

(collecting cases applying more general government-speech standards to elected

officials). 8 As a consequence, Mr. Warren cannot meet the first element of his prima

facie case.

      B.      Mr. Warren’s speech was unprotected because it fails the Pickering
              balancing test.

      Even if the government-speech doctrine does not apply, Mr. Warren’s speech

is still unprotected under the balancing test established in Pickering. When a


      8
        Nor is it relevant that Mr. Warren may attempt to identify personal
expressions in the Abortion and Gender Statements beyond an announcement of
prosecutorial policy. In Gundy, the Eleventh Circuit noted that Pastor Reginald

                                         50
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 61 of 68




government employee speaks on matters of “public concern” in a personal capacity,

courts still balance the employee’s interest in making the statement against “the

interest of the State, as an employer, in promoting the efficiency of the public

services it performs through its employees.” Pickering, 391 U.S. at 568. The “more

closely the [suspension] serves the [State’s] interest in the efficient and effective

functioning of” a government office, the “more heavily” the balance “weigh[s]”

against First Amendment protection. McCabe v. Sharrett, 12 F.3d 1558, 1570 (11th

Cir. 1994). And here that balance weighs overwhelmingly for the Governor because

Mr. Warren’s public repudiation of his duty “impede[d] the performance of [his]

duties” and “interfere[d] with the regular operation of” his office. Belcher v. City of

McAlester, 324 F.3d 1203, 1208 (10th Cir. 2003) (quotation omitted); see also

Shahar v. Bowers, 114 F.3d 1097, 1107–08 (11th Cir. 1997) (crediting government’s

reasonable prediction that speech will impede job duties).

      Mr. Warren is tasked with enforcing the criminal law and keeping his

community safe. But by openly declining to enforce Florida law, Mr. Warren shirked

his obligations, barred prosecutors in his office from fulfilling their own, and

encouraged individuals to commit crimes within his community. His statements

therefore represent the “simplest example of a statement by a public employee that



Gundy’s legislative invocation contained political statements criticizing the city, and
yet the entire statement was government speech. 50 F.4th at 65, 72–80. So too here.
                                        51
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 62 of 68




would not be protected” by the First Amendment: “answering ‘No’ to a request that

the employee perform a lawful task within the scope of his duties.” Connick v.

Myers, 461 U.S. 138, 163 n.3 (1983) (Brennan, J., dissenting); see also Berry v.

Bailey, 726 F.2d 670, 676 (11th Cir. 1984) (“refusal to perform a duty” is

unprotected); Belcher, 324 F.3d at 1208–09 (firefighter’s speech on matter of public

concern was unprotected when it disrupted his department).

      Because Mr. Warren’s statements strongly interfered with the regular

operation of his office, the Pickering balance overwhelmingly weighs in favor of the

Governor. See Pickering, 391 U.S. at 568; DE 30 at 12–13.

      C.     Mr. Warren’s statements were not protected because the
             suspension standard in the Florida Constitution represents a
             conduct regulation that only incidentally burdened Mr. Warren’s
             speech.

      The final reason that Mr. Warren’s statements were unprotected is that any

burden by suspension placed on his speech was merely incidental to a conduct

regulation. Mr. Warren was suspended under a conduct restriction, the state

suspension standard. So Mr. Warren cannot establish the first element of his prima

facie case. See Norwegian Cruise Line Holdings LTD v. State Surgeon Gen., 50 F.4th

1126, 1135 (11th Cir. 2022).

      Foundational to the speech-incident-to-conduct doctrine is the notion that

regulations on “non-expressive conduct do ‘not implicate the First Amendment at

all’ even if they incidentally burden speech.” Id. (citing Otto v. City of Boca Raton,
                                         52
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 63 of 68




981 F.3d 854, 861, 865 (11th Cir. 2020)); see also Holder v. Humanitarian L.

Project, 561 U.S. 1, 26–27 & n.5 (2010). This doctrine does not require that the

government show that the application of its regulation primarily targets conduct in a

specific case. See Del Castillo v. Sec’y, Fla. Dep’t of Health, 26 F.4th 1214, 1222–

23, 1226 (11th Cir. 2022) (noting that a professional licensing standard primarily

regulated conduct but “also involved some speech” in the abstract, and not

considering any specific speech made by the plaintiff). Rather, the government only

needs to establish that the relevant regulations are “directed at . . . conduct” and do

not facially discriminate against the expressive components of speech by imposing

a burden “based on the content of speech and the identity of the speaker.” Sorrell v.

IMS Health Inc., 564 U.S. 552, 567 (2011). If that is true, then the speech swept into

the regulation is incidental to the State’s lawful regulation of conduct. Norwegian

Cruise Line Holdings, 50 F.4th at 1135–36. It is immaterial that “the conduct was in

part initiated, evidenced, or carried out by means of language, either spoken, written,

or printed.” Giboney, 336 U.S. at 502.

      Here, the Florida suspension standard creates a type of conduct standard.

Neglect of duty is an action that an official takes, just like the “commission of a

felony,” “drunkenness,” and “malfeasance.” Fla. Const., art. IV, § 7(a). And




                                          53
    Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 64 of 68




“incompetence” is a state of being, not an expression of speech. 9 See id. So like the

anti-discrimination law in Norwegian Cruise Line Holdings, Florida’s suspension

provision targets conduct—irrespective of speech used to prove the conduct. See 50

F.4th at 1135–37. And unlike the Vermont law in Sorrell, the suspension standard

does not target the content of speech ex ante or focus on who the speaker is. 564

U.S. at 558–59, 563–64 (noting that the law in that case prohibited the sale,

disclosure, and use of prescriber-identifying information, to protect doctors from

being contacted by drug companies). The fact, then, that Mr. Warren’s conduct was

“initiated, evidenced, or carried out by means of language, either spoken, written, or

printed” does not protect his conduct more than discrimination that takes the form

of words. See Giboney, 336 U.S. at 502; see also Ingram v. Johnson, 187 F.3d 877,

879 (8th Cir. 1999) (holding in a retaliation case that speech-incidental-to-conduct

doctrine authorizes “incidental limitations on First Amendment freedoms”

(quotation omitted)). The only question is whether his speech evinced conduct that

meets the state law standard—a question for the state’s levers of government to

decide. See Pennhurst, 465 U.S. at 106. Thus, Mr. Warren’s claim fails.




      9
        Incompetence is a characteristic of individuals that reflects how they conduct
themselves, though is not itself conduct. Because incompetence is not protected
speech, it should be treated similarly for purposes of the application of the speech-
incident-to-conduct doctrine.
                                          54
      Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 65 of 68




IV.    The Governor will establish that retaliatory animus was not the but-for
       cause of Mr. Warren’s suspension because the Governor would have
       suspended Mr. Warren even absent any retaliatory motive.

       Assuming Mr. Warren establishes that protected speech substantially

motivated his suspension, that the Governor lacked probable cause for the

suspension, that Mr. Warren engaged in protected speech at all, and that Mr.

Warren’s claim survives Pickering balancing, the Governor will still show that the

suspension “would have been taken anyway.” Hartman, 547 U.S. at 260 (citing

Crawford-El, 523 U.S. at 593 and Mt. Healthy, 429 U.S. at 285–86); see also Boquist

v. Courtney, 32 F.4th 764, 778 (9th Cir. 2022) (citing Bostock v. Clayton Cnty., 140

S. Ct. 1731, 1739 (2020)). As explained before, the evidence will show that the

Governor reasonably believed that Mr. Warren pointedly declined to perform his job

duties and that he believed such refusals were appropriate. Supra Parts I–II.B. And

the evidence will show that “in light of [the Governor’s] knowledge, perceptions,

and policies at the time of” the suspension, he would have suspended Mr. Warren

for such misconduct regardless of animus toward protected speech. Bd. of Cnty.

Comm’rs v. Umbehr, 518 U.S. 668, 685 (1996) (citation omitted); see also Marshall,

797 F.2d at 1561 (affirming summary judgment based on same-decision defense

where defendant would have fired the employee regardless of animus because the

employee’s failure to perform his job duties constituted a “compelling independent

reason[] for not continuing employment” (quotation omitted)).

                                        55
Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 66 of 68




                            CONCLUSION

 For the reasons above, the Court should find for the Governor at trial.




                                   56
   Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 67 of 68




Dated: November 22, 2022             Respectfully submitted,

                                     ASHLEY MOODY
                                     Attorney General

                                     /s/ Henry C. Whitaker
                                     HENRY C. WHITAKER (FBN 1031175)
                                       Solicitor General
JAMES H. PERCIVAL (FBN 1016188)      JEFFREY PAUL DESOUSA (FBN 110951)
Deputy Attorney General                Chief Deputy Solicitor General
of Legal Policy                      DAVID M. COSTELLO (FBN 1004952)
NATALIE CHRISTMAS (FBN 1019180)        Deputy Solicitor General
Assistant Attorney General           ROBERT S. SCHENCK (NYBN 5948039)
of Legal Policy                      ZACHARY GROUEV (FBN 1038629)
                                       Solicitor General Fellows

                                     Office of the Attorney General
                                     The Capitol, PL-01
                                     Tallahassee, Florida 32399
                                     (850) 414-3300
                                     henry.whitaker@myfloridalegal.com

                                     GEORGE T. LEVESQUE (FBN 555541)
                                     JEFF AARON (FBN 123473)

                                     GrayRobinson, P.A.
                                     301 South Bronough Street, Suite 600
                                     Tallahassee, Florida 32302
                                     (850) 577-9090
                                     george.levesque@gray-robinson.com

                                        Counsel for Governor DeSantis




                                   57
     Case 4:22-cv-00302-RH-MAF Document 127 Filed 11/22/22 Page 68 of 68




                        CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2022, a true and correct copy of the

foregoing was filed with the Court’s CM/ECF system, which will provide service to

all parties.

                                            /s/ Henry C. Whitaker
                                            Solicitor General




                                       58
